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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re                                                                          Case No. 19-23649 (RDD)

Purdue Pharma L.P., et al.,                                                    Jointly Administered

                                                 Debtors.
---------------------------------------------------------------x


                                      NOTICE OF APPOINTMENT OF OFFICIAL
                                      COMMITTEE OF UNSECURED CREDITORS

          William K. Harrington, United States Trustee for Region 2, pursuant to Section 1102(a) of title 11, United

States Code, hereby appoints the following unsecured creditors that are willing to serve on the Official Committee

of Unsecured Creditors of Purdue Pharma L.P., and its affiliated debtors-in-possession:



          1.         West Boca Medical Center
                     21644 Florida Highway
                     Boca Raton, Florida 33428
                     Attention: Paige Kesman, Assistant General Counsel
                     Telephone: (496) 892-2000

          2.         CVS Caremark Part D Services L.L.C. and
                     CaremarkPCS Health, L.L.C.
                     2211 Sanders Road, NBT-9
                     Northbrook, Illinois 60062
                     Attention: Andrea Zollett, Senior Legal Counsel
                     Telephone: (847) 599-4106

          3.         LTS Lohmann Therapy Systems Corporation
                     21 Henderson Drive
                     West Caldwell, New Jersey 07006
                     Attention: Stephanie Satz, General Counsel (US)
                     Telephone: (973) 276-8925

          4.         Blue Cross and Blue Shield Association
                     1310 G Street NW
                     Washington, DC 20005
                     Attention: Brendan Stuhan, Assistant General Counsel
                     Telephone: (202) 942-1069

          5.         Pension Benefit Guaranty Corporation
                     1200 K Street, NW
                     Washington, DC 20005
                     Attention: Adi Berger, Director
                     Telephone: (202) 326-4000
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       6.      Kara Trainor

       7.      Ryan Hampton

       8.      Cheryl Juaire

       9       Walter Lee Salmons


Dated: New York, New York
       September 27, 2019



                                                Sincerely,

                                                WILLIAM K. HARRINGTON
                                                UNITED STATES TRUSTEE


                                                By:       __/s/ Paul K. Schwartzberg____
                                                          Paul K. Schwartzberg,
                                                          Trial Attorney
                                                          Office of the United States Trustee
                                                          U.S. Federal Office Building
                                                          201 Varick Street, Room 1006
                                                          New York, NY 10014
                                                          Tel. (212) 510-0500
                                                          Fax (212) 668-2255




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